                    Case 08-41984                      Doc 10             Filed 05/09/08 Entered 05/09/08 17:24:16                      Desc Main
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                                  District of Minnesota
  In re          Donald Andrew Driggs                                                                                  Case No.      08-41984
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                   11




                                                                      SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                 9,205,000.00


B - Personal Property                                             Yes                 5                  905,432.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 8                                     10,777,111.85


E - Creditors Holding Unsecured                                   Yes                 2                                           96,668.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 6                                          221,803.62
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                         0.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                   9,297.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            27


                                                                                Total Assets        10,110,432.00


                                                                                                 Total Liabilities          11,095,583.47




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
  In re           Donald Andrew Driggs                                                                                  Case No.   08-41984
                                                                                                             ,
                                                                                           Debtor
                                                                                                                        Chapter                  11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                             96,668.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                   TOTAL                     96,668.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                              0.00

              Average Expenses (from Schedule J, Line 18)                                                        9,297.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                               0.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                     5,234,000.85

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                             96,668.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                              0.00

              4. Total from Schedule F                                                                                                 221,803.62

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           5,455,804.47




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B6A (Official Form 6A) (12/07)


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  In re          Donald Andrew Driggs                                                                               Case No.      08-41984
                                                                                                        ,
                                                                                          Debtor

                                                                SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

3253 - 55 Holmes Avenue South                                                                               -                   675,000.00              659,731.00

3245 Hennepin Avenue                                                                                        -                   675,000.00              509,896.00

3990 Sunset Drive                                                                                           -                  1,250,000.00             948,054.00

3201 Hennepin Avenue                                                                                        -                   300,000.00              243,673.00

2925 Casco Point Road                                                                                       -                  1,250,000.00          1,086,045.00

809 Portland Avenue                                                                                         -                   725,000.00              464,651.00

29317 145th Street NE                                                                                       -                   125,000.00                96,812.00

4400 Deering Island                                                                                         -                  2,200,000.00             650,044.00

29279 145th Street NE                                                                                       -                   155,000.00              117,054.00

3022 Hennepin Avenue                                                                                        -                  1,850,000.00             651,109.00




                                                                                                        Sub-Total >        9,205,000.00         (Total of this page)

                                                                                                                Total >    9,205,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Donald Andrew Driggs                                                                                   Case No.       08-41984
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      TCF Checking Account; Acct. No. xxxxxxx0343                       -                        2,137.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        TCF Checking Account; Acct. No. xxxxxx6871                        -                           328.00
       thrift, building and loan, and
       homestead associations, or credit                         Main Street Checking Account; Acct. No. xx 587 3                  -                        2,875.00
       unions, brokerage houses, or
       cooperatives.                                             Commerce Checking Account                                         -                              0.00

                                                                 First National Bank of the Lakes Checking Account;                -                           459.00
                                                                 Acct. No. xxx0749

                                                                 Franklin Bank Checking Account; Acct. No. xxx8312                 -                           588.00

                                                                 Crown Bank Checking Account; Acct. No. xxxx0061                   -                           758.00

                                                                 Commerce Bank Checking Account; Acct. No.                         -                            22.00
                                                                 xxx1920

                                                                 State Bank of Delano Bank Checking Account; Acct.                 -                              4.00
                                                                 No. xx5008

                                                                 State Bank of Delano Bank Checking Account; Acct.                 -                            11.00
                                                                 No. xx4777

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Household Goods                                                   -                        5,475.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Clothing                                                          -                           500.00


                                                                                                                                   Sub-Total >          13,157.00
                                                                                                                       (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Donald Andrew Driggs                                                                                   Case No.       08-41984
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          Interest in Blacklake, LLC; approximate value                     -                     500,000.00
    and unincorporated businesses.
    Itemize.                                                     Interest in Great Suburban World Theatre, LLC                     -                              0.00

                                                                 Interest in One Mile Long, LLC; approximate value                 -                     300,000.00

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                         Tenants - Outstanding Rent                                        -                              0.00

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                                   Sub-Total >        800,000.00
                                                                                                                       (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Donald Andrew Driggs                                                                                   Case No.       08-41984
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                              Rental License                                                    -                              0.00
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1998 Eight Foot Utility Trailer                                   -                           350.00
    other vehicles and accessories.
                                                                 1993 Suburban SUV                                                 -                           700.00

                                                                 1999 Rockwood Roo Trailer                                         -                        3,500.00

                                                                 1988 Donzi w/trailer                                              -                      10,000.00

                                                                 Hallmark Storage Trailer                                          -                           500.00

                                                                 1966 Donzi Trailer                                                -                           200.00

                                                                 4 Miscellaneous older boat trailers (not road                     -                           200.00
                                                                 worthy)

26. Boats, motors, and accessories.                              1940 33' Chris Craft Boat                                         -                        2,500.00


                                                                                                                                   Sub-Total >          17,950.00
                                                                                                                       (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Donald Andrew Driggs                                                                                   Case No.       08-41984
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 1968 Chris Craft Boat                                             -                        6,500.00

                                                                 1990 Donzi with Trailer                                           -                        6,500.00

                                                                 Larson 1938 w/trailer                                             -                        2,500.00

                                                                 Larson 1957 Boat                                                  -                           500.00

                                                                 Larson 1957                                                       -                           500.00

                                                                 1955 Larson w/trailer                                             -                           500.00

                                                                 Aristo-craft w/trailer                                            -                           100.00

                                                                 Swedish Launch                                                    -                        2,500.00

                                                                 1940 Hydroplane                                                   -                           400.00

                                                                 1940 Hydroplane                                                   -                           400.00

                                                                 Boston Whaler w/trailer                                           -                        6,500.00

                                                                 1927 Hutchinson w/trailer                                         -                      45,000.00

                                                                 Pontoon Boat (handbuilt) w/trailer                                -                           500.00

                                                                 Steel Wreck Barge homebuilt minus crane                           -                           200.00

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           Gateway computer                                                  -                           100.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X



                                                                                                                                   Sub-Total >          72,700.00
                                                                                                                       (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Donald Andrew Driggs                                                                                   Case No.        08-41984
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind                          Three Riding Lawn Mowers                                           -                       1,350.00
    not already listed. Itemize.
                                                                 1 Push Mower and miscellaneous garden tools                        -                          150.00

                                                                 Miscellaneous hammers, wrenches                                    -                           50.00

                                                                 Miscellaneous outdoor patio furniture                              -                           75.00

                                                                 Possible Tax Refunds                                               -                             0.00




                                                                                                                                   Sub-Total >            1,625.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >       905,432.00
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)


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   In re          Donald Andrew Driggs                                                                                    Case No.      08-41984
                                                                                                                 ,
                                                                                               Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Real Property
2925 Casco Point Road                                                            Minn. Stat. §§ 510.01, 510.02                   163,955.00             1,250,000.00

Household Goods and Furnishings
Household Goods                                                                  Minn. Stat. § 550.37(4)(b)                          5,475.00                 5,475.00

Wearing Apparel
Clothing                                                                         Minn. Stat. § 550.37(4)(a)                           500.00                     500.00




                                                                                                                 Total:          169,930.00             1,255,975.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re          Donald Andrew Driggs                                                                                             Case No.     08-41984
                                                                                                                      ,
                                                                                                     Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                         I    Q   U                      PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxx6051                                                                                                                E
                                                                                                                                    D

Aurora Loan Services
2617 College Park
P.O. Box 1706
                                                                    -
Scottsbluff, NE 69363-1706

                                                                         Value $                                    0.00                        421,886.00         421,886.00
Account No. xxxx6069

Aurora Loan Services
2617 College Park
P.O. Box 1706
                                                                    -
Scottsbluff, NE 69363-1706

                                                                         Value $                                    0.00                        432,354.00         432,354.00
Account No. xxxx0151

Aurora Loan Services
2617 College Park
P.O. Box 1706
                                                                    -
Scottsbluff, NE 69363-1706

                                                                         Value $                                    0.00                        909,665.00         909,665.00
Account No.                                                             Mortgage

Aurora Loan Services                                                    3245 Hennepin Avenue
10350 Park Meadows Drive
Littleton, CO 80124
                                                                    -

                                                                         Value $                              675,000.00                        509,896.00                   0.00
                                                                                                                            Subtotal
 7
_____ continuation sheets attached                                                                                                            2,273,801.00       1,763,905.00
                                                                                                                   (Total of this page)




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   In re          Donald Andrew Driggs                                                                                          Case No.     08-41984
                                                                                                                   ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                           O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                           T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                      PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                                T   J                                                       N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                          G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                       E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                             First Mortgage                                           E
                                                                                                                                 D

Aurora Loan Services                                                    2925 Casco Point Road
10350 Park Meadows Drive
Littleton, CO 80124
                                                                    -

                                                                         Value $                         1,250,000.00                        909,552.00                   0.00
Account No.                                                             Mortgage

Chase Home Finance                                                      4400 Deering Island
P.O. Box 78116
Phoenix, AZ 85062
                                                                    -

                                                                         Value $                         2,200,000.00                        650,044.00                   0.00
Account No. xxxxxx3074

Chase Manhattan Bank
P.O. Box 830016
Baltimore, MD 21283-0016
                                                                    -

                                                                         Value $                                0.00                         615,400.00         615,400.00
Account No. xxxxxxx811-8

Citimortgage
P.O. Box 7706
Springfield, OH 45501
                                                                    -

                                                                         Value $                                0.00                         557,529.00         557,529.00
Account No. xxxxxxx628-3

Citimortgage
P.O. Box 7706
Springfield, OH 45501
                                                                    -

                                                                         Value $                                0.00                         243,750.00         243,750.00
       1
Sheet _____    7
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                           2,976,275.00       1,416,679.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Donald Andrew Driggs                                                                                             Case No.     08-41984
                                                                                                                      ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             Mortgage                                                    E
                                                                                                                                    D

Citimortgage                                                            3990 Sunset Drive
P.O. Box 7706
Springfield, OH 45501
                                                                    -

                                                                         Value $                         1,250,000.00                           598,054.00                   0.00
Account No.                                                             Mortgage

Citimortgage                                                            3201 Hennepin Avenue
P.O. Box 7706
Springfield, OH 45501
                                                                    -

                                                                         Value $                              300,000.00                        243,673.00                   0.00
Account No.

Commerce Bank
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                                    0.00                        149,996.00         149,996.00
Account No.                                                             Second Mortgage

Commerce Bank                                                           3253 - 55 Holmes Avenue South
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                              675,000.00                         52,150.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           3022 Hennepin Avenue
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                         1,850,000.00                           501,109.00                   0.00
       2
Sheet _____    7
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                              1,544,982.00         149,996.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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   In re          Donald Andrew Driggs                                                                                             Case No.     08-41984
                                                                                                                      ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                           One loan for all these properties:                            E
                                                                      3253 - 55 Holmes Avenue South                                 D

Commerce Bank                                                         3245 Hennepin AVenue
P.O. Box 398048                                                       3990 Sunset Drive
                                                                      3201 Hennepin Avenue
Edina, MN 55439
                                                                    - 2925 Casco Point Road
                                                                      4400 Deering Island
                                                                         Value $                              675,000.00                        159,370.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           3245 Hennepin Avenue
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                              675,000.00                              0.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           3990 Sunset Drive
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                         1,250,000.00                                 0.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           3201 Hennepin Avenue
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                              300,000.00                              0.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           2925 Casco Point Road
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                         1,250,000.00                                 0.00                   0.00
       3
Sheet _____    7
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                159,370.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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   In re          Donald Andrew Driggs                                                                                            Case No.     08-41984
                                                                                                                     ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No.                                                             Mortgage                                                   E
                                                                                                                                   D

Commerce Bank                                                           2925 Casco Point Road
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                         1,250,000.00                                0.00                   0.00
Account No.                                                             Mortgage

Commerce Bank                                                           4400 Deering Island
P.O. Box 398048
Edina, MN 55439
                                                                    -

                                                                         Value $                         2,200,000.00                                0.00                   0.00
Account No.                                                             Second Mortgage

Crown Bank                                                              3990 Sunset Drive
6600 France Avenue South
Suite 125
                                                                    -
Edina, MN 55435

                                                                         Value $                         1,250,000.00                          350,000.00                   0.00
Account No.                                                             Above Crown #5071717 Blanket Boat
                                                                        Lien
Crown Bank
6600 France Avenue South
Suite 125
                                                                    -
Edina, MN 55435

                                                                         Value $                              62,500.00                         62,500.00                   0.00
Account No.                                                             1999 Rockwood Roo Trailer

First Nat'l Bank of the Lakes
2445 Shadywood Road
Navarre, MN 55391
                                                                    -

                                                                         Value $                               3,500.00                          3,097.00                   0.00
       4
Sheet _____    7
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               415,597.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




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   In re          Donald Andrew Driggs                                                                                             Case No.     08-41984
                                                                                                                      ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxx5790                                                   10/25/2006                                                  E
                                                                                                                                    D

First Nat'l Bank of the Lakes                                           Boat Loan
2445 Shadywood Road
Navarre, MN 55391                                                       1988 Donzi w/trailer
                                                                    -

                                                                         Value $                               10,000.00                          5,445.00                   0.00
Account No.                                                             Mortgage

Heritage Bank                                                           29279 145th Street NE
310 1st Street SW
P.O. Box 1124
                                                                    -
Willmar, MN 56201-1124

                                                                         Value $                              155,000.00                        117,054.00                   0.00
Account No. xx-xxxx9328

Home Federal Savings Bank
1016 Civic Center Drive NW
Suite 400, P.O. Box 6057
                                                                    -
Rochester, MN 55903

                                                                         Value $                                    0.00                         73,932.00           73,932.00
Account No.                                                             Second Mortgage

Home Federal Savings Bank                                               2925 Casco Point Road
1016 Civic Center Drive NW
Suite 400, P.O. Box 6057
                                                                    -
Rochester, MN 55903

                                                                         Value $                         1,250,000.00                            76,493.00                   0.00
Account No. xxxxxx2918

Indymac Bank Home Loan
7700 W. Parmer Lane
Building D, 2nd Floor
                                                                    -
Austin, TX 78729

                                                                         Value $                                    0.00                        421,886.00         421,886.00
       5
Sheet _____    7
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                694,810.00         495,818.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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   In re          Donald Andrew Driggs                                                                                             Case No.      08-41984
                                                                                                                      ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                          PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             Mortgage                                                    E
                                                                                                                                    D

Indymac Bank Home Loan                                                  3253 - 55 Holmes Avenue South
7700 W. Parmer Lane
Building D, 2nd Floor
                                                                    -
Austin, TX 78729

                                                                         Value $                              675,000.00                        448,211.00                    0.00
Account No.                                                             Third Mortgage

JT & TJ Inc.                                                            2925 Casco Point Road
21 Century Avenue South
Saint Paul, MN 55119
                                                                    -                                                                   X

                                                                         Value $                         1,250,000.00                           100,000.00                    0.00
Account No.                                                             Mortgage

St. Stephens Bank                                                       Mortage for both properties:
3950 3rd Street N.                                                      4400 Deering Island
Saint Cloud, MN 56303                                                   3022 Hennepin Avenue
                                                                    -

                                                                         Value $                                    0.00                        155,674.00          155,674.00
Account No.                                                             Mortgage

St. Stephens Bank                                                       3022 Hennepin Avenue
3950 3rd Street N.
Saint Cloud, MN 56303
                                                                    -

                                                                         Value $                         1,850,000.00                           150,000.00                    0.00
Account No.

State Bank of Delano
1300 Babcock Blvd. East
P.O. Box 530
                                                                    -
Delano, MN 55328-0530

                                                                         Value $                                    0.00                       1,244,000.00       1,244,000.00
       6
Sheet _____    7
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                              2,097,885.00        1,399,674.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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   In re          Donald Andrew Driggs                                                                                             Case No.      08-41984
                                                                                                                      ,
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                          PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. x3079                                                       11/24/2006                                                  E
                                                                                                                                    D

State Bank of Delano                                                    Boat Loan
1300 Babcock Blvd. E.
Delano, MN 55328-0530                                                   1927 Hutchinson w/trailer
                                                                    -

                                                                         Value $                               45,000.00                          52,928.85             7,928.85
Account No.

Wachovia Mortgage
P.O. Box 659558
San Antonio, TX 78265-9558
                                                                    -

                                                                         Value $                                    0.00                               0.00                   0.00
Account No.                                                             Mortgage

Wachovia Mortgage                                                       809 Portland Avenue
P.O. Box 659558
San Antonio, TX 78265-9558
                                                                    -

                                                                         Value $                              725,000.00                        464,651.00                    0.00
Account No.                                                             Mortgage

Wells Fargo Home Mortgage                                               29317 145th Street NE
P.O. Box 1225
Charlotte, NC 28201-1225
                                                                    -

                                                                         Value $                              125,000.00                          96,812.00                   0.00
Account No.




                                                                         Value $
       7
Sheet _____    7
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                614,391.85              7,928.85
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total            10,777,111.85       5,234,000.85
                                                                                                   (Report on Summary of Schedules)

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  In re          Donald Andrew Driggs                                                                                     Case No.         08-41984
                                                                                                              ,
                                                                                           Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
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                     Case 08-41984                      Doc 10             Filed 05/09/08 Entered 05/09/08 17:24:16                               Desc Main
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 B6E (Official Form 6E) (12/07) - Cont.




   In re          Donald Andrew Driggs                                                                                           Case No.      08-41984
                                                                                                                    ,
                                                                                                     Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No.                                                             Property Taxes                                            E
                                                                                                                                  D

Hennepin County Treasurer
A-600 Government Center                                                                                                                                      0.00
Minneapolis, MN 55487-0060
                                                                    -

                                                                                                                                                83,351.00            83,351.00
Account No.                                                             Property Taxes

Kandiyohi County
PO Box 896                                                                                                                                                   0.00
Willmar, MN 56201-0896
                                                                    -

                                                                                                                                                 2,998.00              2,998.00
Account No.                                                             Property Taxes

Wright County Auditor
10 Second Street NW                                                                                                                                          0.00
Room 232
                                                                    -
Buffalo, MN 55313-1194

                                                                                                                                                10,319.00            10,319.00
Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)           96,668.00            96,668.00
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)             96,668.00            96,668.00

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 B6F (Official Form 6F) (12/07)


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   In re          Donald Andrew Driggs                                                                                        Case No.     08-41984
                                                                                                                          ,
                                                                                                        Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No.                                                                              Repairs & Maintenance                               T   T
                                                                                                                                                 E
                                                                                                                                                 D

A-1 Minnetonka Rental
3607 Shoreline Drive                                                                 -
Wayzata, MN 55391

                                                                                                                                                                             62.24
Account No.

Amanda Porter c/o
Tony Johnson, Blainey & Ledin                                                        -                                                               X
990 Inwood
Oakdale, MN 55128
                                                                                                                                                                         1,500.00
Account No.

Bank of America
P.O. Box 15726                                                                       -
Wilmington, DE 19886-5726

                                                                                                                                                                       39,163.00
Account No.

Bank of America
P.O. Box 15726                                                                       -
Wilmington, DE 19886-5726

                                                                                                                                                                       17,190.00

                                                                                                                                           Subtotal
 5
_____ continuation sheets attached                                                                                                                                     57,915.24
                                                                                                                                 (Total of this page)




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   In re          Donald Andrew Driggs                                                                                        Case No.     08-41984
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Repairs & Maintenance                                   E
                                                                                                                                                 D

BDS
2430 Enterprise Drive                                                                -
Saint Paul, MN 55120

                                                                                                                                                                        205.67
Account No.                                                                              Repairs & Maintenance

Bergerson Caswell
5115 Industrial Street                                                               -
Maple Plain, MN 55359

                                                                                                                                                                        186.59
Account No.                                                                              Utility

Blackowiak Disposal
1195 Sunnyfield RD                                                                   -
Mound, MN 55364

                                                                                                                                                                        161.43
Account No.                                                                              Utility

Centerpoint Energy
P.O. Box 1144                                                                        -
Minneapolis, MN 55440-1144

                                                                                                                                                                      5,345.51
Account No.

Chase
Cardmember Services                                                                  -
P.O. Box 94014
Palatine, IL 60094-4014
                                                                                                                                                                    11,159.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    17,058.20
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Donald Andrew Driggs                                                                                        Case No.     08-41984
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Utility                                                 E
                                                                                                                                                 D

City of Orono
2750 Kelley Parkway                                                                  -
Crystal Bay, MN 55323

                                                                                                                                                                        750.18
Account No.                                                                              Repairs & Maintenance

City of St. Paul
PO Box 64015                                                                         -
Saint Paul, MN 55164

                                                                                                                                                                          76.58
Account No.

City Pages
401 North Third Street                                                               -
Suite 550
Minneapolis, MN 55401
                                                                                                                                                                      2,000.00
Account No.                                                                              Storage

David Umbehocker
3860 Shoreline Drive                                                                 -
Wayzata, MN 55391

                                                                                                                                                                      1,574.00
Account No.

LDC Collections
PO Box 4967                                                                          -
Trenton, NJ 08650-4967

                                                                                                                                                                        168.00

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      4,568.76
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Donald Andrew Driggs                                                                                        Case No.     08-41984
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Marilyn Wasik
2925 Casco Point                                                                     -
Wayzata, MN 55391

                                                                                                                                                                  128,446.00
Account No.                                                                              Utility

Minneapolis Finance Dept.
PO Box 77028                                                                         -
Minneapolis, MN 55480

                                                                                                                                                                        694.24
Account No.                                                                              Repairs & Maintenance

MN Dept. of Labor & Industry
443 Lafayette Road                                                                   -
Saint Paul, MN 55155

                                                                                                                                                                        110.00
Account No.                                                                              Repairs & Maintenance

Park Heating & Cooling
7801 Park Drive                                                                      -
Chanhassen, MN 55317

                                                                                                                                                                        137.00
Account No.                                                                              Utility

Paul Regional Water Service
1900 Rice Street                                                                     -
Saint Paul, MN 55113

                                                                                                                                                                        636.50

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                  130,023.74
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Donald Andrew Driggs                                                                                        Case No.     08-41984
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Utility                                                 E
                                                                                                                                                 D

RMS
4836 Brecksville Road                                                                -
Richfield, OH 44286

                                                                                                                                                                        197.30
Account No.                                                                              Tax Accountants

Romer & Company
2318 First Avenue South                                                              -
Minneapolis, MN 55404

                                                                                                                                                                      4,992.54
Account No.                                                                              Cell Phone

Sprint
PO Box 4191                                                                          -
Carol Stream, IL 60197

                                                                                                                                                                        105.73
Account No.                                                                              Utility

Tony Mudek Waste Service
Box 248                                                                              -
Newport, MN 55055

                                                                                                                                                                        551.00
Account No.

Uptown Transfer
3040 4th Ave South                                                                   -
Minneapolis, MN 55402

                                                                                                                                                                        700.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      6,546.57
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Donald Andrew Driggs                                                                                              Case No.      08-41984
                                                                                                                           ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                              Legal Fees                                                     E
                                                                                                                                                        D

William H. Henney
5101 Thimsen Avenue                                                                  -
Suite 200
Minnetonka, MN 55345
                                                                                                                                                                               498.42
Account No.                                                                              Utility

Xcel Energy
P.O. Box 9477                                                                        -
Minneapolis, MN 55484-9477

                                                                                                                                                                             4,730.92
Account No.                                                                              Utility

Yocum Oil
2719 Stillwater Road                                                                 -
Saint Paul, MN 55119

                                                                                                                                                                               461.77
Account No.




Account No.




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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             5,691.11
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)               221,803.62


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B6G (Official Form 6G) (12/07)


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  In re             Donald Andrew Driggs                                                                          Case No.       08-41984
                                                                                                       ,
                                                                                      Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                    Case 08-41984                      Doc 10             Filed 05/09/08 Entered 05/09/08 17:24:16          Desc Main
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B6H (Official Form 6H) (12/07)


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  In re          Donald Andrew Driggs                                                                    Case No.       08-41984
                                                                                                  ,
                                                                                      Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)


 In re    Donald Andrew Driggs                                                                         Case No.      08-41984
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
                                             None.

Employment:                                               DEBTOR                                                   SPOUSE
Occupation
Name of Employer
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $             0.00       $             N/A

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $             N/A
     b. Insurance                                                                                        $             0.00       $             N/A
     c. Union dues                                                                                       $             0.00       $             N/A
     d. Other (Specify):                                                                                 $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $             N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $             N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             N/A
8. Income from real property                                                                             $             0.00       $             N/A
9. Interest and dividends                                                                                $             0.00       $             N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A
12. Pension or retirement income                                                                         $             0.00       $             N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $             N/A
                                                                                                         $             0.00       $             N/A


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $             0.00       $             N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                    $                 0.00
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
             Case 08-41984         Doc 10       Filed 05/09/08 Entered 05/09/08 17:24:16                     Desc Main
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B6J (Official Form 6J) (12/07)


 In re    Donald Andrew Driggs                                                               Case No.     08-41984
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                6,821.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                  185.00
                   b. Water and sewer                                                                       $                   63.00
                   c. Telephone                                                                             $                  250.00
                   d. Other Trash                                                                           $                   38.00
3. Home maintenance (repairs and upkeep)                                                                    $                  100.00
4. Food                                                                                                     $                  400.00
5. Clothing                                                                                                 $                    0.00
6. Laundry and dry cleaning                                                                                 $                    0.00
7. Medical and dental expenses                                                                              $                   10.00
8. Transportation (not including car payments)                                                              $                  500.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   50.00
10. Charitable contributions                                                                                $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                  180.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                   80.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Property Taxes                                                                   $                  620.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                9,297.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                    0.00
b. Average monthly expenses from Line 18 above                                                              $                9,297.00
c. Monthly net income (a. minus b.)                                                                         $               -9,297.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                  United States Bankruptcy Court
                                                                                 District of Minnesota
 In re       Donald Andrew Driggs                                                                                   Case No.   08-41984
                                                                                             Debtor(s)              Chapter    11




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                29       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 9, 2008                                                               Signature    /s/ Donald Andrew Driggs
                                                                                             Donald Andrew Driggs
                                                                                             Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                 District of Minnesota
 In re       Donald Andrew Driggs                                                                                Case No.      08-41984
                                                                                             Debtor(s)           Chapter       11


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                                __________________________________________

                1. Income from employment or operation of business

    None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $360,000.00                              Real Estate Hospitality - 2006 - Estimated
                           $360,000.00                              Real Estate Hospitality - 2007 - estimated

                2. Income other than from employment or operation of business

    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE


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                3. Payments to creditors

    None        Complete a. or b., as appropriate, and c.

                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
                and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
                of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
                creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                      AMOUNT PAID            OWING

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                      AMOUNT
                                                                                   DATES OF                            PAID OR
                                                                                   PAYMENTS/                         VALUE OF         AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                        TRANSFERS           OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
                creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT               AMOUNT PAID            OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments

    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
                this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY          STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION             DISPOSITION
 Commerce Bank                                   Breach of Contract                          Hennepin County          Stayed by ch. 11
 Wachovia Bank                                   Breach of Contract                          Ramsey County            Stayed by Ch. 11
 Tonya Suit                                      Breach of Contract                          Ramsey County            Stayed by Ch. 11
 JT & TJ, Inc.                                   Breach of Contract                                                   Stayed by Ch. 11

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                  DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE               PROPERTY




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                5. Repossessions, foreclosures and returns

    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
                or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                    PROPERTY
 Indy Mac                                                               4/11/08                         Property located at 3253 Holmes; $675,000.00
 PO Box 78826
 Phoenix, AZ 85062

                6. Assignments and receiverships

    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER                PROPERTY

                7. Gifts

    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                        DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT       VALUE OF GIFT

                8. Losses

    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS          DATE OF LOSS




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                9. Payments related to debt counseling or bankruptcy

    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                              OF PROPERTY
 Hinshaw & Culbertson LLP                                                         4/2008                                $10,000 Retainer and Filing
 333 South Seventh Street                                                                                               Fee for Chapter 11 Bankruptcy
 Suite 2000
 Minneapolis, MN 55402

                10. Other transfers

    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                        AND VALUE RECEIVED

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

                11. Closed financial accounts

    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)

                                                                                    TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                     OR CLOSING
 TCF                                                                              5 Property Accounts Closed              Nominal Amounts
 Minneapolis, MN

                12. Safe deposit boxes

    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                 SURRENDER, IF ANY




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                13. Setoffs

    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

                14. Property held for another person

    None        List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

                15. Prior address of debtor

    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

                16. Spouses and Former Spouses

    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                the community property state.

 NAME

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
                liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
                known, the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                   LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                   LAW




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    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                          STATUS OR DISPOSITION

                18 . Nature, location and name of business

    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
                securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                 NATURE OF BUSINESS               ENDING DATES
 Great Suburban                                                            2925 Casco Point Rd     Real Estate                      2005 - Present
 World Theatre, LLC                                                        Wayzata, MN 55391
 Black Lake, LLC                                                           2925 Casco Point Rd     Real Estate                      2002-Present
                                                                           Wayzata, MN 55391
 One Mile Long, LLC                                                        2925 Casco Point Rd
                                                                           Wayzata, MN 55391

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements

    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 Romer & Company                                                                                            Last 20 years
 2318 First Avenue South
 Minneapolis, MN 55404




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    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
                books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                    DATES SERVICES RENDERED

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
                of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS
 Romer & Company                                                                                    2318 First Avenue South
                                                                                                    Minneapolis, MN 55404

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
                issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

                20. Inventories

    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                and the dollar amount and basis of each inventory.

                                                                                                                  DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                       (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders

    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                            PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                  NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                             OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders

    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                commencement of this case.

 NAME                                                              ADDRESS                                                 DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                             DATE OF TERMINATION




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                23 . Withdrawals from a partnership or distributions by a corporation

    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
                in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                commencement of this case.

 NAME & ADDRESS                                                                                                                AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                  VALUE OF PROPERTY

                24. Tax Consolidation Group.

    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

                25. Pension Funds.

    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
                employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date May 9, 2008                                                               Signature    /s/ Donald Andrew Driggs
                                                                                             Donald Andrew Driggs
                                                                                             Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                          Form 1007-1 - Statement Of Compensation By Debtor's Attorney

                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
 In re       Donald Andrew Driggs                                                                                 Case No.   08-41984
                                                                                          Debtor(s)               Chapter    11


                               STATEMENT OF COMPENSATION BY ATTORNEY FOR DEBTOR(S)

The undersigned, pursuant to Local Rule 1007-1, Bankruptcy Rule 2016(b) and § 329(a) of the Bankruptcy Code, states
that:
              1.           The undersigned is the attorney for the debtor(s) in this case and files this statement as required by
                           applicable rules.

              2.           (a) The filing fee paid by the undersigned to the clerk for the debtor(s) in this case is:                   $          1,039.00

                           (b) The compensation paid or agreed to be paid by the debtor(s) to the undersigned is:                       $        10,000.00

                           (c) Prior to filing this statement, the debtor(s) paid to the undersigned:                                   $        10,000.00

                           (d) The unpaid balance due and payable by the debtor(s) to the undersigned is:                               $                0.00

              3.           The services rendered or to be rendered include the following:
                              (a) analysis of the financial situation and rendering advice and assistance to the debtor in determining
                                  whether to file a petition under Title 11 of the United States Code;
                              (b) preparation and filing of the petition, exhibits, attachments, schedules, statements and lists and
                                  other documents required by the court;
                              (c) representation of the debtor(s) at the meeting of creditors;
                              (d) other services reasonably necessary to represent the debtor(s) in this case.
              4.           The source of all payments by the debtor(s) to the undersigned was or will be from earnings or other
                           current compensation of the debtor(s), and the undersigned has not received and will not receive any
                           transfer of property other than such payments by the debtor(s), except as follows:


              5.           The undersigned has not shared or agreed to share with any other person other than with members of
                           undersigned's law firm any compensation paid or to be paid.




 Dated: May 9, 2008                                                              Signed: /s/ Thomas G. Wallrich
                                                                                         Thomas G. Wallrich 213354
                                                                                         Attorney for Debtor(s)
                                                                                         Hinshaw & Culbertson LLP
                                                                                         333 South Seventh Street
                                                                                         Suite 2000
                                                                                         Minneapolis, MN 55402
                                                                                         612-333-3434 Fax: 612-334-8888
LOCAL RULE REFERENCE: 1007-1




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B22B (Official Form 22B) (Chapter 11) (01/08)

 In re   Donald Andrew Driggs
                         Debtor(s)
 Case Number:   08-41984
                           (If known)


                                 CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                           Part I. CALCULATION OF CURRENT MONTHLY INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.  Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
     1
              b.  Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
              c.  Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income received from all sources, derived during the six Column A    Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's   Spouse's
              six-month total by six, and enter the result on the appropriate line.                              Income      Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                       $                 0.00 $
              Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
              and enter the difference in the appropriate column(s) of Line 3. If more than one business
              profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
              number less than zero.
     3                                                                   Debtor                 Spouse
               a.    Gross receipts                               $                0.00 $
               b.    Ordinary and necessary business expenses $                    0.00 $
               c.    Business income                              Subtract Line b from Line a                  $                 0.00 $
              Net Rental and other real property income. Subtract Line b from Line a and enter the
              difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
                                                                          Debtor                 Spouse
     4
               a.    Gross receipts                                $               0.00 $
               b.    Ordinary and necessary operating expenses $                   0.00 $
               c.    Rent and other real property income           Subtract Line b from Line a                 $                 0.00 $
     5        Interest, dividends, and royalties.                                                                  $             0.00 $
     6        Pension and retirement income.                                                                 $                   0.00 $
              Any amounts paid by another person or entity, on a regular basis, for the household
              expenses of the debtor or the debtor's dependents, including child support paid for that
     7
              purpose. Do not include alimony or separate maintenance payments or amounts paid by the
              debtor's spouse if Column B is completed.                                                      $                   0.00 $
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                     0.00 Spouse $          $                  0.00 $
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
              payments paid by your spouse if Column B is completed, but include all other payments of
              alimony or separate maintenance. Do not include any benefits received under the Social
     9        Security Act or payments received as a victim of a war crime, crime against humanity, or as a
              victim of international or domestic terrorism.
                                                                          Debtor               Spouse
               a.                                                  $                     $
               b.                                                  $                     $                    $                  0.00 $
              Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
    10
              completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                  $                  0.00 $

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              Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11        Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
              from Line 10, Column A.                                                                                 $                                  0.00
                                                                                Part II. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
    12                      Date: May 9, 2008                                            Signature: /s/ Donald Andrew Driggs
                                                                                                       Donald Andrew Driggs
                                                                                                                  (Debtor)




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